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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                 Plaintiff,

v.                                                                  Case No. 16-40113-01-DDC

JERMAINE TYRELL PATTON (01),

            Defendant.
____________________________________


                                   MEMORANDUM AND ORDER

        Defendant Jermaine Tyrell Patton has filed a pro se1 motion (Doc. 82) asking the court to

discharge his restitution and special assessment obligations. The government filed a Response

(Doc. 84). For reasons explained below, the court denies Mr. Patton’s motion.

        I.       Background

        Previously, Mr. Patton pleaded guilty to aiding and abetting both (1) the interference with

commerce by means of robbery (Hobbs Act robbery) and (2) the use and carry of a firearm

during and in relation to a crime of violence. Doc. 28 at 1–2. The court sentenced Mr. Patton to

168 months’ imprisonment and three years of supervised release. Doc. 55 at 2–3. The court also

ordered him to pay both restitution and a special assessment. See id. at 6. Mr. Patton appealed,

and our Circuit affirmed. See United States v. Patton, 927 F.3d 1087, 1103 (10th Cir. 2019).

Mr. Patton then filed a motion under 28 U.S.C. § 2255, which the court denied. See Doc. 68;

Doc. 81. Mr. Patton has appealed that ruling. See Doc. 85. Just before filing the Notice of




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        “[P]risoners who proceed pro se . . . are entitled to liberal construction of their filings[.]” Toevs v.
Reid, 685 F.3d 903, 911 (10th Cir. 2012); see also Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991).
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Appeal, he filed a separate motion (Doc. 82) asking the court to discharge his restitution and

special assessment obligations.

       Before turning to the motion’s merits, the court considers whether Mr. Patton’s Notice of

Appeal divests our court of jurisdiction over the pending motion.

       II.     Whether Mr. Patton’s Notice of Appeal Divests the District Court of Subject
               Matter Jurisdiction Over the Instant Motion

       As a general rule, the “‘filing of a notice of appeal is an event of jurisdictional

significance [that] confers jurisdiction on the court of appeals and divests the district court of its

control over those aspects of the case involved in the appeal.’” United States v. Battles, 745 F.3d

436, 448 (10th Cir. 2014) (quoting Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58

(1982)); see also United States v. Madrid, 633 F.3d 1222, 1226–27 (10th Cir. 2011) (discussing

general rule and exceptions).

       Here, Mr. Patton filed a Notice of Appeal (Doc. 85) days after filing his motion to

discharge his financial obligations. Even if that filing a Notice of Appeal from an order denying

a § 2255 motion generally divests the district court of control over aspects of the underlying

criminal case, the court concludes that an exception based on judicial efficiency applies here.

Mr. Patton’s motion seeking discharge of court-ordered payments based on the Uniform

Commercial Code and a 1933 House Joint Resolution invites the district court to address matters

not comprehended by the appeal from his § 2255 motion. See Madrid, 633 F.3d at 1226–27.

The court concludes that it retains jurisdiction to decide the motion despite the pending appeal.

       III.    Whether Legal Authority Mr. Patton Cites Supports Discharging Restitution
               and Special Assessment Obligations

       Mr. Patton asks the court to discharge the financial obligations he owes under the court’s

Judgment (Doc. 55). See Doc. 82 at 1. Mr. Patton explains that he “accept[s] for value under



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[his] unlimited commercial authority true and correct and complete.” Id. He asks the court to

discharge his court-ordered financial obligations—which he deems a “commercial liability[.]”

Id. Specifically, Mr. Patton seeks discharge “in accordance with H.J.R. House Joint Resolution

192 of June 5th 1933, S.Ct 73-10 (FR3) and UCC 1-108, 1-104.” Id. He asks the court to

“[r]elease the orders, fixtures, and products.” Id.

        But Mr. Patton fails to explain how any of the authorities he cites applies to the court’s

authority to discharge or amend restitution or special assessment obligations. And the court can

find no case law that supports his request. Rather, the weight of authority flattens his

arguments.2 Even applying the forgiving standard governing pro se practice, the court identifies

no compelling legal argument capable of supporting Mr. Patton’s motion.

        IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Patton’s motion to

discharge (Doc. 82) his restitution and special assessment obligations is denied.

        IT IS SO ORDERED.

        Dated this 7th day of June, 2021, at Kansas City, Kansas.

                                                        s/ Daniel D. Crabtree______
                                                        Daniel D. Crabtree
                                                        United States District Judge




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         See, e.g., Amerson v. United States, 550 F. App’x 603, 604 (10th Cir. 2013) (Gorsuch, J.) (“The
UCC governs commercial transactions and cannot be used to upset criminal convictions, even
collaterally.”); United States v. Markham, No. 14-10089-JTM, 2015 WL 338967, at *2 (D. Kan. Jan. 23,
2015) (“The Uniform Commercial Code has no application to criminal proceedings.”); Pinckney v. U.S.
Gov’t - I.R.S., No. CV 2:19-3046-BHH-BM, 2020 WL 3474011, at *4 (D.S.C. Jan. 27, 2020) (noting that
“debt relief claims based on HJR-192 have been universally rejected by every federal court that has been
presented with this theory” (citations and internal quotation marks omitted), report and recommendation
adopted, No. CV 2:19-3046-BHH, 2020 WL 3473584 (D.S.C. June 25, 2020).

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